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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND


STATE OF MARYLAND, et al.,

Plaintiffs,                             Case No. 1:25-cv-00748-JKB

        v.

UNITED STATES DEP’T OF
AGRICULTURE et al.,

Defendants.


               DEFENDANTS’ OPPOSITION TO PLAINTIFFS’ MOTION
              FOR SECTION 705 STAY AND PRELIMINARY INJUNCTION
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                                       INTRODUCTION

       Nineteen states and the District of Columbia (“Plaintiff States”) claim they have been

harmed by purported violations by twenty-one federal agencies of a statutory notice requirement,

allegedly triggered when those agencies terminated large numbers of probationary employees.

They claim that in doing so, the agencies actually engaged in unannounced statutory reductions in

force (“RIFs”), which triggered this notice requirement.       Plaintiffs, now relying upon the

temporary restraining order (“TRO”) issued by the Court on March 13, 2025, seek an extraordinary

nationwide preliminary injunction and an equally extraordinary stay under Section 705 of the

Administrative Procedure Act (“APA”) (i) reinstating all terminated probationers, (ii) barring

prospective probationer terminations absent individualized performance determinations, and (iii)

requiring ongoing status compliance reports by the federal agencies. But they cannot carry the

high burden necessary to obtain any of that relief.

       Beyond critical deficiencies in standing, Plaintiff States fail to establish a likelihood of

success on the merits, because they simply cannot show that Defendants’ actions triggered the

statutory RIF Notice requirements. And the injunction they seek, in any event, would result in a

profound mismatch between the informational injury they assert (failure to receive pre-termination

notice) and the sweeping remedy they seek (reinstatement of thousands of terminated employees

nationwide). The States also have no place in what is, at base, a dispute between several federal

agencies and their terminated probationers.

       The Motion should be denied. However, if the Court enters a preliminary injunction, it

should at most be limited to Plaintiff States (that demonstrate standing and irreparable harm).

Judge Rushing’s concurrence in a March 21 Fourth Circuit order in this case questioned the

inappropriate nationwide scope of the injunctive relief Plaintiffs seek. Her concern was justified:




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Thirty States have not claimed any injury of this type in any court, and one State has decided to

litigate its claims in a different judicial district. The Court should respect those 31 States’ choices

and tailor any relief to the parties to this action.

                                           BACKGROUND

I.      Statutory and Regulatory Background

        Plaintiff States’ case centers around 5 U.S.C. § 3502. That statute provides that when

conducting a RIF—which is a distinct “administrative procedure by which agencies eliminate jobs

and reassign or separate employees who occupied the abolished positions,” James v. Von

Zemenszky, 284 F. 3d 1310, 1314 (Fed. Cir. 2002), the government must follow certain notice

procedures. One such procedure requires providing 60 days’ written notice to the employee. 5

U.S.C. § 3502(d)(1)(A). And if the RIF would affect a “significant number of employees” in a

jurisdiction, notice must also be provided to “the State or entity designated by the State to carry

out rapid response activities under section 134(a)(2)(A) of the Workforce Investment Act of 1998.”

Id. § 3502(d)(1)(B)1, (d)(3)(A)(i). Under OPM’s implementing regulations, “[w]hen 50 or more

employees in a competitive area receive separation notices under this part, the agency must provide

written notification of the action, . . . . to … (1) the State …. [t]o carry out rapid response activities

under … the Workforce Investment Act of 1988.” 5 CFR § 351.803(b)(1).

        Probationers are individuals whose employment with the federal government has not been

finalized. See 5 C.F.R. § 315.804. By statute, “The President may … provide … for a period of

probation” for federal employees “before an appointment in the competitive service becomes




1
  Specifically, § 3502(d)(1)(B) provides: “[A]n employee may not be released, due to a reduction
in force, unless (B) if the reduction in force would involve the separation of a significant number
of employees, the [notice] requirements of [Section 3502(d)(3)] are met at least 60 days before any
employee is so released.” (emphasis added).

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final.” 5 U.S.C. § 3321(a)(1); see id. § 7511(a)(1). Employees in the excepted service are subject

to a trial period of two years. 5 U.S.C. § 7511(a)(1)(C)(ii). Exercising its statutory authority, OPM

has issued rules defining the probationary term for the competitive service and specifying that

agencies “shall utilize the probationary period as fully as possible to determine the fitness of the

employee and shall terminate his or her services during this period if the employee fails to

demonstrate fully his or her qualifications for continued employment.” 5 C.F.R. §§ 315.801,

315.802, 315.803(a).

       Employment-related disputes between federal employees and their employing agencies

within the Executive Branch—including challenges to employee removals or terminations—are

governed by the comprehensive, reticulated administrative-judicial review scheme set forth in the

Civil Service Reform Act of 1978, Pub. L. No. 95-454, 92 Stat. 1111, codified at 5 U.S.C. § 2101

et seq. (the “CSRA”). That expansive scheme also includes parallel provisions governing labor

relations between agencies and their employees, the Federal Service Labor-Management Relations

Statute (the “FSLMRS”), set forth in Title VII of the CSRA (codified at 5 U.S.C. §§ 7101-7135).

Taken as a whole, the scheme governs nearly all aspects of the federal employer-employee

relationship, and largely covers the field when it comes to judicial rights and remedies for alleged

constitutional and statutory violations arising out of that relationship. As the D.C. Circuit has put

it, “what you get under the CSRA is what you get.” Fornaro v. James, 416 F.3d 63, 67 (D.C. Cir.

2005) (Roberts, J.).

       Relevant here, the CSRA “establishe[s] a comprehensive system for reviewing personnel

action taken against federal employees.” Elgin v. Dep’t of the Treasury, 567 U.S. 1, 5 (2012)

(citation omitted). If an agency takes a statutorily defined major adverse action against a covered

employee—including removal, see 5 U.S.C. § 7512—the employee may appeal that action to the




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Merit Systems Protection Board (“MSPB”) under the provisions of the CSRA’s Chapter 75. Id.

§7513(d). The MSPB may order relief to prevailing employees, including reinstatement, backpay,

and attorney’s fees. Id. §§ 1204(a)(2), 7701(g). Final MSPB decisions generally are appealable to

the Federal Circuit, which has “exclusive jurisdiction” over such appeals. 28 U.S.C. § 1295(a)(9).

This review scheme is “exclusive, even for employees who bring constitutional challenges to

federal statutes.” Elgin, 567 U.S. at 13. Other than limited circumstances not relevant here, the

CSRA does not permit covered employees to bring suit in federal district court. Id. at 14-15; United

States v. Fausto, 484 U.S. 439, 447 (1988); Fornaro, 416 F.3d at 67.

       In contrast to tenured employees, terminated probationers generally do not enjoy the same

guaranteed right to appeal removal decisions to the MSPB, as Congress excluded them from the

definition of “employee[s]” for purposes of the CSRA’s Chapter 75. See 5 U.S.C. § 7511(a)(1).

Instead, probationers are still considered “applicants” under the extended hiring and evaluation

period of the CSRA. And the CSRA, which sets forth the merit system principles underlying the

entire statutory scheme and provides remedies for alleged violations of those principles, generally

applies to both “applicants and employees.” See, e.g., 5 U.S.C. § 2302(a)(2)(A)(i)–(xii)

(identifying “personnel action[s]” that may form the basis for alleged prohibited personnel

practices “with respect to an employee in, or applicant for, a covered position in any agency”).

       In appropriate circumstances, terminated probationers may pursue relief resulting in MSPB

adjudication, with judicial review thereafter. There are two main routes to such review. First, a

removed probationer may file a complaint alleging one or more statutorily defined “prohibited

personnel practices” with the Office of Special Counsel, 5 U.S.C. §§ 1211- 1219, et seq., which is

statutorily charged with investigating such complaints and which may in turn pursue

administrative relief before the MSPB. Second, under Office of Personnel Management (OPM)




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regulations, a removed probationer may appeal to the MSPB if he alleges that his removal was

based upon one of the reasons set forth in the regulations. See 5 C.F.R. § 315.806(b)-(d) (listing

reasons such as discrimination on partisan political reasons, marital status, improper procedures,

and discrimination on protected status).

II.    Factual Background

       On January 20, 2025, OPM transmitted a guidance memo to Executive Branch agencies

emphasizing that probationary periods constitute “an essential tool for agencies to assess employee

performance.” Memorandum from Charles Ezell, Acting Director, U.S. Office of Personnel

Management, to Heads and Acting Heads of Departments and Agencies, Guidance on Probationary

Periods, Administrative Leave and Details, at 1 (Jan. 20, 2025). The memo directed agencies to

“identify all employees on probationary periods” and “promptly determine whether those

employees should be retained at the agency.” Id. On March 4, OPM issued revised guidance

emphasizing that agencies “have ultimate decision-making authority over, and responsibility for,

such personnel actions.” Memorandum from Charles Ezell, Acting Director, U.S. Office of

Personnel Management, to Heads and Acting Heads of Departments, Guidance on Probationary

Periods, Administrative Leave and Details, at 2 (rev. Mar. 4, 2025), https://perma.cc/E8P5-74WZ.

       Invoking their legal authorities to manage their workforces, certain federal agencies have

terminated certain probationary employees. In its TRO opinion (“Op.”) (Dkt. No. 43), the Court

found that “at least 24,000 probationary employees” have been terminated. See Op. 7. Plaintiff

States allege that they “were not provided any notice of such terminations.” Id.

III.   Procedural Background

       Plaintiff States sued on March 6, 2025, and moved for a TRO the following day. See Dkt.

Nos. 1 (Compl.) and 4 (Mot. For TRO). Their requested TRO would “restrain[] Defendants from




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terminating   federal   probationary     employees     without    making    specific,   individualized

determinations regarding the inadequacy of the employee’s conduct or performance” and

“[c]ompel[] Defendants to reinstate federal probationary employees fired on or after January 20,

2025, as part of mass terminations that did not comply with RIF procedures and were not based

on individual determinations of conduct or performance.” Dkt. No. 4, at 2.

       On March 13, following briefing and a hearing, the Court substantially granted Plaintiffs’

motion. It concluded that Plaintiff States had shown standing. Op. 14-15, 19-21. It rejected

Defendants’ argument that claims concerning termination of federal employment may only be

pursued under the CSRA and the FSLMRS. The Court recognized that the statutory scheme

“forecloses any possibility of the States bringing their claims before an administrative agency”

because only unions, employees, and applicants for employment have rights under those statutes.

Id. 26. But the Court used this as a basis to counterintuitively conclude that States could

collaterally attack the federal hiring decisions through other channels. And on the merits, the Court

found that the government’s termination of probationary employees constituted a RIF because the

“terminated probationary employees were plainly not terminated for cause.” Id. 33; see also, e.g.,

id. at 38 (“The wholesale dismissal of employees due to their status as probationary employees

appears to be some form of reorganization, even if the Government does not refer to it as such.”).

The Court then held that the government had failed to comply with the requirements governing

RIFs, including advance notice to states. See id. at 37-38.

       While acknowledging that any harms faced by the states were “largely economic,” the

Court nevertheless said such harms were irreparable “because money damages are likely not

available” from the federal government. Id. 41. So too did a “diversion of resources” resulting

from the lack of notice also constitute an irreparable harm. Id. at 42. For the last two factors, which




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merge when the government is a defendant, the Court found that the balance of the equities and

the public interest favored the states. Id. at 42-44.

        The TRO is extraordinarily broad: the Court ordered that Restrained Defendants must

reinstate “all Affected Probationary Employees throughout the United States FORTHWITH, and

in any event before March 17, 2025, at 1:00 p.m. EDT.” Dkt. No. 44, at ¶ 3. It further issued an

injunction directing that Restrained Defendants shall not “conduct any future … [RIFs]—whether

formally labeled as such or not—except in compliance with” statutory and regulatory

requirements. Id. at ¶ 4. Ordering this relief nationwide—including in the 30 states that did not

join any suit like this and in the one that chose to litigate elsewhere—the Court reasoned that

because the “Government’s policy is violative of the law across the board, it is appropriate for

injunctive relief to be nationwide in scope.” Op. 48. Because it “would order nationwide relief

even if just a single State had standing,” the Court declined to determine which states other than

Maryland had standing. See id. at 18 n.3.

        On March 17, 2025, Defendants appealed the TRO to the Fourth Circuit and moved for a

stay pending appeal and an immediate administrative stay. Following briefing, the Fourth Circuit

denied that motion on March 21, noting this Court’s stated intention to hold a hearing on March

26 and to promptly grant or deny preliminary injunctive relief thereafter. See Doc. 20, No. 25-

1248, at 3-4 (4th Cir. Mar. 21, 2025).

        Judge Rushing concurred in the motion panel’s ruling, writing separately “to echo the

growing concerns over district courts issuing nationwide injunctions to order redress for those who

have not sought it.” Id. Her concurrence expressed substantial concern as to the TRO:

      The district court here required numerous federal agencies to reinstate fired
      probationary workers across all 50 States. It ordered relief because Plaintiffs—which
      are 19 States and the District of Columbia—asserted an injury stemming from the
      federal government’s failure to notify the States of its intent to fire probationary



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        employees within their territory. But the district court extended its injunction to cover
        non-plaintiff States because (1) “the Government’s policy is violative of the law across
        the board,” and (2) it “would be inequitable” for a federal employee’s status to turn on
        “the fortuity of their physical location.” State of Maryland v. USDA, 1:25-cv-748, slip
        op. at 48 (D. Md. Mar. 13, 2025).

        Neither reason holds water. As the district court noted, federal law requires an agency
        to notify a State of a reduction in force (RIF) when 50 or more employees in a
        “competitive area”—a unit definable by the agency but which must be linked to
        geography—receive separation notices. 5 C.F.R. §§ 351.803(b), 351.405; see 5 U.S.C.
        § 3502(d)(3). Plaintiffs identify no allegations or evidence before the district court
        showing that 50 or more employees were terminated in competitive areas in non-
        plaintiff States—that is, the 31 States that opted not to join this lawsuit. Accordingly,
        the court had no basis to conclude that the government violated federal law by failing
        to notify those States about any RIFs, and consequently no basis to conclude that the
        government’s actions were illegal “across the board.”

        Further, the district court lost sight of who the Plaintiffs are and what injury they claim
        when it concluded a nationwide injunction was warranted. The States seek redress for
        their own purported injuries flowing from the lack of notice, not for an injury to their
        citizens. Accordingly, the question is not whether it is inequitable for a federal
        employee’s reinstatement to turn on his State of residence, but rather whether it is
        inequitable to redress notice-based injuries only for those States that actually claim to
        be injured by the lack of notice. Of course not.

Id. at 4-5.

         Following the Fourth Circuit’s ruling, this Court issued an Order noting Judge Rushing’s

concurrence and directing the parties to brief the proper scope of any injunctive relief. See Doc.

97 (“If the Court grants a preliminary injunction, should it be national in scope, or should it operate

in only the Plaintiff States?”)

                 THE PLAINTIFF STATES’ CLAIMS IN THIS ACTION

         Plaintiff States base their preliminary injunction motion on claims under the APA and a

claim alleging ultra vires action. Seeking three forms of preliminary relief, all personnel-related

and nationwide in scope, they request an order:

        “Bar[ring] Defendants from terminating federal probationary employees without making
         specific, individualized determinations regarding the inadequacy of the employee’s
         conduct or performance;”



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         “Reinstat[ing] federal probationary employees fired on or after January 20, 2025, as part
          of mass terminations that did not comply with RIF procedures and were not based on
          individual determinations of conduct or performance;” and

         “[Requiring Defendants] to file status reports with the Court documenting the actions they
          have taken to comply with the Court’s Order”—including “set[ting] forth the number of
          Affected Probationary Employees reinstated at each Defendant agency, broken down by
          subagency, department, and/or other subdivision, to the greatest degree of granularity
          practicable.”

Br. at 2-3; Pls.’ Proposed Order at Dkt. 78-2.

                                        LEGAL STANDARD

          “A preliminary injunction is an extraordinary remedy that may only be awarded upon a

clear showing that the [moving party] is entitled to such relief.” Mountain Valley Pipeline, LLC v.

W. Pocahontas Props. Ltd. P'ship, 918 F.3d 353, 366 (4th Cir. 2019) (citation omitted). A party

seeking a preliminary injunction must establish: “[1] that he is likely to succeed on the merits, [2]

that he is likely to suffer irreparable harm in the absence of preliminary relief, [3] that the balance

of equities tips in his favor, and [4] that an injunction is in the public interest." Winter v. Nat. Res.

Def. Council, Inc., 555 U.S. 7, 20, 24 (2008).

                                            ARGUMENT

I.        Plaintiffs Fail to Make the “Clear Showing” Necessary for a Preliminary Injunction.

          Plaintiff States cannot make the requisite “clear showing” that they are entitled to the

extraordinary relief of a preliminary injunction.

          A.      Plaintiff States Have Not Shown a Likelihood of Success on the Merits

               1. Plaintiffs Cannot Show Standing

          “A plaintiff unlikely to have standing is ipso facto unlikely to succeed” and as such is not

entitled to pretrial injunctive relief.” Elec. Priv. Info. Ctr. v. Presidential Advisory Comm’n on

Election Integrity, 878 F.3d 371, 375 n.2 (D.C. Cir. 2017); Speech First, Inc. v. Fenves, 979 F.3d


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319, 329 (5th Cir. 2020) (“preliminary injunction, like final relief, cannot be requested by a

plaintiff who lacks standing to sue”); R. K. v. Lee, 53 F.4th 995, 998 (6th Cir. 2022); Delmarva

Fisheries Ass’n, Inc. v. Atl. States Marine Fisheries Comm'n, 127 F.4th 509, 515 (4th Cir. 2025)

(explaining that it is appropriate to affirm the denial of a preliminary injunction if a plaintiff fails

to “establish[] a substantial likelihood of standing” at the preliminary injunction stage). To

establish standing, and invoke the Court’s jurisdiction, the States “must show” that they have

“suffered, or will suffer, an injury that is ‘concrete, particularized, and actual or imminent; fairly

traceable to the challenged action; and redressable by a favorable ruling.’” Murthy v. Missouri, 603

U.S. 43, 57 (2024) (quoting Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013)).

       Plaintiff States claim injury from Defendants’ probationary terminations because (a) the

States did not receive notice in advance, and (b) the terminations require the States to provide

additional services, while also causing a loss of tax revenues. See Br. 13 & 14 n.6 (arguing that

their “central injury is an information injury,” which in turn caused other various downstream

harms such as a loss of state income tax revenues.) This standing argument is flawed in two ways.

       First, an “informational injury” on its own does not create Article III standing. See

TransUnion LLC v. Ramirez, 594 U.S. 413, 442 (2021). So simply pointing to the failure to provide

the allegedly required statutory-based notice is insufficient for injury. Instead, the asserted

informational injury must cause “real” harms that “are of the type that have traditionally been

regarded as providing a basis for a lawsuit in English or American courts.” Dreher v. Experian

Info. Sols., Inc., 856 F.3d 337, 345 (4th Cir. 2017) (citation omitted). Plaintiffs and the Court

identify purported “downstream” harms to state resources, but those cannot suffice, as explained

below. See, e.g., Op. 14-15 (citing “increased” unemployment claims and need to “divert money

and human resources” to provide services and benefit programs).




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        Second, Plaintiffs’ “downstream” theory of injury is not viable, in light of United States v.

Texas, 599 U.S. 670, 674 (2023). There, the Supreme Court rejected a theory of state standing

materially similar to that advanced here. The gist of theory in Texas was that States could sue

based on “downstream” costs imposed and resources expended in response to a federal government

action. Id. (citing the obligation to “supply social services such as healthcare and education” to

additional persons). The Supreme Court rejected this theory. “[I]n our system of dual federal and

state sovereignty, federal policies frequently generate indirect effects on state revenues or state

spending.” Id. at 680 n.3. And a theory of standing based on those indirect effects is “more

attenuated” and less likely to succeed. Id.; accord, e.g., Arizona v. Biden, 40 F.4th 375, 386 (6th

Cir. 2022) (rejecting contention that any federal policy that “imposes peripheral costs on a State

creates a cognizable Article III injury”). The States here claim similar injuries. See, e.g., Dkt. No.

1, ¶¶ 171, 179; threatened increased enrollment in social services such as Medicaid, e.g., id. ¶¶

205-206; and caused the states to expend funds to establish informational resources for their

citizens, e.g., id. ¶¶ 168, 202, 205.

        Even assuming that Plaintiffs’ claimed-“statutory right of notice” alone could give rise to

an “informational injury” that suffices as an injury-in-fact, they cannot establish redressability for

that injury. Specifically, a plaintiff seeking injunctive relief on a theory of informational injury

must assert that a judicial order would lead him to obtain information he lacks—“[a]s when an

agency denies requests for information under the Freedom of Information Act.” Pub. Citizen v.

U.S. Dep’t of Just., 491 U.S. 440, 449 (1989); see also, e.g., Fed. Election Comm’n v. Akins, 524

U.S. 11, 21 (1998). Here, at least as to terminations that have already occurred, the states do not

allege that any information is presently being withheld from them. Any informational injury no

longer exists and could not possibly be grounds for the district court’s sweeping reinstatement




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order. Thus, a favorable decision will not remedy the “informational injury” here. A basic

mismatch exists between the informational injury the states assert (failure to receive pre-

termination notice) and the sweeping remedy requested here (reinstatement of thousands of

terminated employees). That relief does nothing to remedy the states’ asserted informational injury

because it does not provide them the information that they alleged was not provided.

       In its TRO Opinion, the Court relied upon Laufer v. Naranda Hotels, LLC, 60 F.4th 156,

171 (4th Cir. 2023), to observe that “[i]nformational injury has long been recognized as a valid

injury in fact.” Op. 14. But Laufer was brought by a disabled plaintiff who alleged that a hotel

website failed to comply with a regulation requiring it to “[i]dentify and describe accessible

features in the hotels and guest rooms.” Laufer, 60 F.4th at 159 (alteration in original) (quotation

marks omitted). She alleged that she “suffered an informational injury” because she had been

deprived of “information required to make meaningful choices for travel.” Id. at 160 (quotation

marks omitted). She accordingly sought “declaratory and injunctive relief,” id. at 158—in

particular, an order requiring the hotel “to revise its websites to comply” with the regulation.

Amended Complaint at 9, Laufer v. Naranda Hotels LLC, No. 1:20-cv- 02136-CCB (D. Md. Aug.

17, 2020), ECF No. 4. The court accepted that Laufer had “alleged an informational injury that

gives her Article III standing to sue,” Laufer, 60 F.4th at 166, and given the obvious connection

between the asserted injury (missing information) and the requested relief (an order to provide it),

the Court observed that the defendant had not even contested redressability in district court, id. at

167. Here, Plaintiff States’ “informational injury” is entirely different. They are not seeking a

judicial order compelling the provision of information; they make no argument showing how

reinstatements would redress the “informational injury” that they assert. See Br. 16-17.




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           2. The CSRA Provides The Exclusive Remedies For All Claims Concerning The
              Termination Of Federal Employees

       Even if the States had Article III standing, Plaintiffs still fail to show that they are likely to

prevail on the merits, because the Court lacks jurisdiction to adjudicate the challenges to the

employment decisions of federal agencies. Instead, as explained above, Congress “established a

comprehensive system” that provides the “exclusive means” for reviewing such matters. Elgin,

567 U.S. 5, 8 (quotation marks omitted). Plaintiffs claim that the CSRA and FSLMRS do not

preclude federal court jurisdiction. Br. at 14. This is incorrect.

       The CSRA, together with the FSLMRS, “creates an integrated scheme of administrative

and judicial review, wherein the Congress intentionally provided—and intentionally chose not to

provide—particular forums and procedures for particular kinds of claims.” Ame. Fed’n of Gov’t

Emps. v. Sec’y of the Air Force, 716 F.3d 633, 636 (D.C. Cir. 2023) (alterations, citation, and

quotations marks omitted). Congress allowed certain individual federal employees who are

affected by agency personnel decisions to challenge those decisions “by litigating their claims

through the statutory scheme in the context of [a] concrete” dispute, albeit limited to the claims

and remedies provided by Congress. See Am. Fed’n of Gov’t Emps. v. Trump, 929 F.3d 748, 757

(D.C. Cir. 2019).

       In its TRO decision, the Court never disputed that if this lawsuit were brought by the real

parties in interest—terminated probationary employees—it could proceed only through the scheme

enacted by Congress. See, e.g., Op. 24 (“Congress has provided for the exclusive administrative

review of most employment claims brought by federal employees ….”); see also, e.g., Fornaro,

416 F.3d at 67 (“[W]hat you get under the CSRA is what you get.”). Yet the court concluded that

those statutory limitations are irrelevant because Congress failed to include states among the

parties who may bring claims under that scheme. See Op. 26, 30. That has it backwards. “[T]he



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CSRA is the exclusive avenue for suit even if the plaintiff cannot prevail.” Grosdidier v.

Chairman, Broad. Bd. of Governors, 560 F.3d 495, 497 (D.C. Cir. 2009).

       Supreme Court precedent makes clear that when a comprehensive scheme permits review

at the behest of some types of plaintiffs but not others, it implicitly precludes review by plaintiffs

who are not authorized to bring claims. In Block v. Community Nutrition Institute, 467 U.S. 340,

347 (1984), the Supreme Court considered a statute that permitted dairy handlers to obtain review

of certain “market orders” after exhausting administrative remedies, but did not authorize review

by anyone else. See id. at 346 (citing 7 U.S.C. § 608c). When a group of dairy consumers sought

review of a marketing order, the Supreme Court explained that the statute omits a “provision for

participation by consumers in any proceeding,” and that “[i]n a complex scheme of this type, the

omission of such a provision is sufficient reason to believe that Congress intended to foreclose

consumer participation in the regulatory process.” Id. at 347. Accordingly, the Court explained,

the “structure of this Act indicates that Congress intended only producers and handlers, and not

consumers, to ensure that the statutory objectives would be realized.” Id. And the “restriction of

the administrative remedy to handlers strongly suggests that Congress intended a similar restriction

of judicial review of market orders.” Id. Any other holding would facilitate circumvention of the

comprehensive statutory scheme. See id. at 348.

       The principles described in Block apply with full force to the CSRA. See Fausto, 484 U.S.

at 448 (1988) (applying Block to conclude that certain employees who lack CSRA appeal rights

“should not be able to demand judicial review for the type of personnel action covered by that

chapter”). Just as Congress “intentionally foreclosed judicial review to employees who … are

subjected to disciplinary actions which are modest in nature,” Pinar v. Dole, 747 F.2d 899, 912

(4th Cir. 1984), it intentionally foreclosed judicial review by parties other than those it specifically




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authorized to seek relief. Any other result would encourage litigants to “bypass the statutory and

administrative remedies in order to seek direct judicial relief and thereby deprive the Government

of the opportunity to work out its personnel problems within the framework it has so painstakingly

established.” Id. at 913 (citation omitted).

       In short, Congress did not leave a gaping hole in the CSRA by disallowing states from

challenging federal employees’ terminations on their behalf, simply because there were large

numbers terminated at or around the same time. Indeed, such an interpretation would be utterly at

odds with Congress’s intent in enacting the CSRA, which was to replace a “patchwork system with

an integrated scheme of administrative and judicial review.” Fausto, 484 U.S. at 445. Rather,

Congress limited review of federal employment actions to actions by affected employees

themselves, in specified administrative and judicial fora.

       Plaintiffs emphasize that Congress could not have intended to preclude the States’ claims,

because that would place the Plaintiff States “in the odd position of possessing a right without

remedy.” Br. at 15, 16. But again, there is nothing “odd” about that, where, by design, Congress

intended to permit review of federal employment actions to administrative or judicial actions by

affected employees themselves, in a different forum.

           3. Plaintiffs Fail to Make a Showing that Defendants’ Actions Triggered the
              Statutory RIF Notice Requirements.

       The thrust of Plaintiff States’ motion is that Defendants’ probationary terminations

amounted to an unannounced statutory RIF, which triggered Notice requirements—and that the

proffered reason for those terminations was pretextual. Br. 10-13. But a statutory RIF does not

occur whenever the government terminates a large number of employees. Statutory RIFs authorize

an agency to eliminate positions and release employees through a defined process when “required

because of lack of work; shortage of funds; insufficient personnel ceiling; reorganization; the



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exercise of reemployment rights or restoration rights; or reclassification of an employee’s position

d[u]e to erosion of duties.” 5 C.F.R. § 351.201(a)(2). The regulation applies only “when the agency

determines that a reduction in force is necessary.” Id. § 351.204. Plaintiffs incorrectly assert that

“Defendants do not dispute that they failed to comply with the [advance notice requirements, set

forth in 5 U.S.C. § 3502(d)(3)(A); and 5 CFR § 351.803(b)].” See Br. 12. Plaintiffs have not

shown that Defendants made the findings required for the RIF statute to apply. Defendants thus

had no compliance obligations under the RIF statute.

       The Court supported its conclusion that the RIF statute applied with the suggestion that

Defendants made improper terminations of probationers. The Court focused on the numbers

involved, suggesting that “[t]he wholesale dismissal of employees due to their status as

probationary employees appears to be some form of reorganization.” Op. 38.

       However, it is not correct that probationary employees can be terminated only for

individual performance issues. The OPM regulations do not purport to be exclusive, but even if

they were, the language in those regulations, including “qualifications” and “fitness” (as explained

below), necessarily encompasses agency priorities and resources. However, even if probationary

employees could be terminated only for individual performance problems, terminating them

without cause would not make the termination a statutory RIF subject to notice requirements—it

would simply give the probationary employees an argument to take through channeling.

                   (a) The Court Wrongly Concluded the OPM Performance Regulations
                       Required Individualized Assessment for Any Probationary Employees
                       Prior to Termination

       The Court erred when it concluded, essentially, that outside of a RIF, probationary

employees can be terminated only for individual performance issues. The Court stated that

“agencies are permitted to terminate probationary employees under only three circumstances: (1)




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due to conditions arising prior to their employment, 5 C.F.R. § 315.805; (2) due to unsatisfactory

performance or conduct, 5 C.F.R. § 315.804(a); and (3) pursuant to a RIF.” Op. 33. The Court’s

conclusion is mistaken for at least three reasons.

       First, OPM’s regulations, 5 C.F.R. §§ 315.803(a), 315.804, and 315.805, do not purport to

be exclusive. Plaintiffs, who carry the burden here, fail to point to any source suggesting that OPM

intended that these regulations purport to be the exclusive manner of terminating probationary

employees. The court mistakenly interpreted these OPM regulations (5 C.F.R. §§ 315.803(a),

315.804, and 315.805) to limit agencies’ authority to terminate probationary employees for

individual performance issues only (outside of a RIF).

       OPM regulations governing probationary employees do not limit agencies’ authority to

remove probationary employees for non-performance-based reasons. The Court’s overreading of

the import of these regulations further underscores the weakness of Plaintiffs’ merits arguments.

While the OPM regulations authorize removals of probationary employees for performance-based

reasons, they do not purport to limit agencies’ authority to remove probationary employees for

other reasons, including the reasons identified by the agencies here. See, e.g., Br. 6 (quoting letters

which stated that “in accordance with the direction to agencies to reduce budgets, implement a

hiring freeze, reorganize and reprioritize our work and prepare for a reduction in force, we have

come to the conclusion that we cannot continue with the current staffing levels.”); id. (“[Y]ou have

not demonstrated that your further employment with [the Agency] would be in the public

interest”). Nothing in the OPM regulations says that agencies cannot conduct assessments of an

employee’s utility to the agency in light of resource constraints and agency priorities.

       Thus, an agency’s authority to terminate probationary employees is not limited to the

express authorities set forth in § 315.803(a) and § 315.804. To the contrary, although OPM’s




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regulations provide these bases to terminate competitive service probationary employees,2 they do

not purport to describe the only authority for doing so. See Yu v. Dep’t of Army, 28 Fed. App’x

968, 971 (Fed. Cir. 2002) (nonprecedential) (“However, the agency need not show unsatisfactory

performance in order to discontinue employment during a probationary period; the only grounds

for appeal are those set in 5 C.F.R. § 315.806(b)-(c) and § 1201.3(a)(8).”).

        Second, even if the regulation was exclusive, OPM’s regulation § 315.803(a) provides

independent authority, separate from the RIF regulations, for agencies to terminate competitive

service probationary employees if the agency decides that paying their salary is unwarranted given

the agency’s current priorities.         Section 315.803 (“Agency action during probation period

(general)”) provides in subpart (a), “The agency shall utilize the probationary period as fully as

possible to determine the fitness of the employee and shall terminate his or her services during this

period if the employee fails to demonstrate fully his or her qualifications for continued

employment.” As for competitive service probationary employees, the phrases “fitness of the

employee” and “his or her qualifications for continued employment” in section 315.803(a)

encompass an analysis of whether the individual’s abilities warrant continued employment in light

of current agency priorities.

        Indeed, “qualification” is defined as “A quality, ability, or accomplishment that makes a

person suitable for a particular position or task.” The American Heritage Dictionary of the

English Language, New College Edition (5th ed. 2022)3 (emphasis added). Likewise, “fitness” is


2
  OPM regulations expressly authorize the termination of probationary employees. See 5 C.F.R. §§ 315.803(a);
315.804(a). But by their terms, these provisions apply to probationary employees of the competitive service; they
do not apply to excepted service probationary employees. See De Santis v. MSPB, 826 F.3d 1369, 1372 (Fed. Cir.
2016) (explaining that 5 C.F.R. §§ 315.805 and 315.806(c) “grant to a terminated probationary employee, but only
one in the competitive service, certain procedural rights and a right of appeal to the Board where the employee
makes a non-frivolous allegation that the termination rested wholly or partly on conditions arising before
appointment.”). Thus, any reliance upon these regulations to address probationary excepted service employees is
misplaced.
3
  Available at: https://ahdictionary.com/word/search.html?


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defined as “suitability or appropriateness.”      Id. Accordingly, the person’s fitness and/or

qualifications must be considered in light of the specific tasks agencies need performed. These

regulations provide independent authority, separate from the RIF regulations, for agencies to

terminate competitive service probationary employees if the agency decides that paying their

salary is unwarranted given the agency’s current priorities.

       Third, agencies have broad discretion to remove probationary employees. In order to

establish that agencies violated the law by removing them, probationary employees must point to

some statute or regulation that agencies violated by removing them. Plaintiffs cannot do so. To

the contrary, the governing authorities emphasize agencies’ discretion to terminate probationary

employees. In the CSRA, Congress enacted a carefully crafted comprehensive scheme governing

all aspects of the federal employer-employee relationship. Even as it created an elaborate system

allowing certain employees to challenge some personnel actions, Congress chose not to extend

those rights to probationary employees. See United States v. Connolly, 716 F.2d 882, 886 (Fed.

Cir. 1983). As the legislative history of the CSRA demonstrates, Congress recognized that “[t]he

probationary or trial period ... is an extension of the examining process to determine an employee’s

ability to actually perform the duties of the position,” and “[i]t is inappropriate to restrict an

agency’s authority to separate an employee who does not perform acceptably during this

period.” Id. (citing S.Rep. No. 969, 95th Cong., 2d Sess. 45 (1978), reprinted in 1978 U.S.Code

Cong. & Ad.News 2723, 2767.) Thus, the CSRA preserved agencies’ broad authority to terminate

probationary employees, and Plaintiffs must identify some statutory constraint to prevail—which

they have not done.

       In this light, given that Congress chose to instead treat probationary employment as an

“extension of the examining process,” id. (citation omitted), it would be doubly inappropriate to




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read in implied judicial avenues for challenging terminations, and to allow the inclusion of States

as parties who can challenger termination of probationary employment. Cf. Fausto, 484 U.S. at

447 (Congress’s silence on category of employees “displays a clear congressional intent to deny

the excluded employees the protections of Chapter 75—including judicial review—for personnel

action covered by that chapter.”).4

         In sum, Plaintiff States, as movants for the injunction, fail to carry their burden of making

a “clear showing” that this analysis is incorrect. In fact, their moving papers do not even reference

OPM’s regulations, §§ 315.803, 315.804, or 315.805.

                       (b) Even if probationary employees could be terminated only for individual
                           performance problems, that does not mean that terminations without
                           sufficient cause are RIF subject to notice requirements.

         Even if hypothetically probationary employees could be terminated only for individual

performance issues (as the Court essentially concluded), and defendants had terminated certain

probationary employees without sufficient cause, that does not make the termination a RIF subject

to notice requirements. Rather, in that case, the termination without sufficient cause would be a

claim that only those affected employees may pursue—and in certain cases are pursuing—through

channeling, i.e., through the procedures created by the CSRA. See Dkt. No. 20, at 8 (describing

how some probationers have pursued relief before the Office of Special Counsel and the MSPB).

Again, that in itself would not mean the government inadvertently has conducted unlawful RIFs

that should have involved a notice requirement.




4
  The Court cited McGuffin v. SSA, 942 F.3d 1099, 1102 (Fed. Cir. 2019), for the proposition that the employer
“must honestly be dissatisfied with the probationer’s conduct or performance after giving him a fair trial on the job.”
See Op. 35. But the protections required by the court there relate to an entirely different statute, which Plaintiffs do
not invoke in this matter. Specifically, McGuffin concerned an employee who was terminated during his one-year
probationary period in part because of his veteran status, which the court held violated the Uniformed Services
Employment and Reemployment Rights Act (USERRA). 38 U.S.C. §§ 4301-35. Plaintiffs have not brought a claim
under USERRA here, so that analysis does not bear on this case.


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       For these reasons, Plaintiffs cannot make a “clear showing” that Defendants’ actions

triggered the statutory RIF notice requirements, and therefore (in addition to the other reasons

explained above) cannot establish that they are likely to succeed on the merits.

       B. Plaintiff States Are Unable to Show They Likely Will Suffer Irreparable Harm in
          the Absence of Preliminary Relief.

       To show irreparable injury, a plaintiff must make a “clear showing” that it will suffer harm

that is “‘neither remote nor speculative, but actual and imminent.’” Direx Israel, Ltd. v.

Breakthrough Med. Corp., 952 F.2d 802, 812 (4th Cir. 1991) (internal citation omitted). In

addition, harm is irreparable only when it “cannot be fully rectified by the final judgment after

trial.” Mountain Valley Pipeline, LLC v. 6.56 Acres of Land, Owned by Sandra Townes Powell,

915 F.3d 197, 216 (4th Cir. 2019) (internal citation omitted).            “Mere injuries, however

insubstantial, in terms of money, time and energy necessarily expended in the absence of [an

injunction] are not enough.” Roe v. Department of Defense, 947 F.3d 207, 228 (4th Cir. 2020)

(internal citations omitted).

       Plaintiffs do not make a “clear showing” here. They argue that “each day that federal

probationary workers are left unemployed means rising and likely unrecoverable administrative

costs for Plaintiff States,” (Br. 16), but cite to no authority establishing that as irreparable harm.

(New York v. Yellen, 15 F.4th 569, 577 (2d Cir. 2021) at Br. 17 concerns standing.) Moreover,

that harm is not fairly traceable to the informational injury alleged; it is instead tied to the

terminations themselves, which plaintiffs are barred from challenging in this litigation due to the

channeling statutes. While the TRO Opinion reasoned that the unavailability of money damages

for APA claims counsels in favor of finding irreparable harm (Op. 41), this overlooks the

peripheral and incidental nature of these costs. At base, the reality of any firing of a federal

employee will only “impose[] peripheral costs on a State. Arizona, 40 F.4th at 386. This is



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especially true where the allegedly lost “notice” time, upon which these costs and lost tax revenues

hinge, is 60 days. Moreover, the Court’s analysis would mean everyone who loses money from a

federal action and lacks a damages claim against the government, (which would be the majority of

claimants due to the small number of sovereign immunity waivers), would be entitled to

emergency relief. This is not the law. See Texas, 599 U.S. at 674.

       C. The Public Interest Weighs Against a Preliminary Injunction

       Plaintiff States also cannot show that the balances of equities and public interest (which

merge in cases against the United States) favor them. Plaintiffs argue that it “is plainly in the

public interest to rescind previously unlawful terminations and prevent further illegal RIFs.” (Br.

17-19). But this presupposes that the terminations of the probationary employees were unlawful,

or that the terminations were RIFs. Plaintiffs erroneously assert that “Defendants’ admit that their

mass terminations of probationary employees were …. [i]n violation of the federal laws and

regulations governing RIFs.” (Br. 20).

       The proposed relief also disserves both the federal government and the taxpayers to require

Defendants to continue employing individuals whose services Defendants determined they no

longer require. The government will not be able to recover that money if it later prevails at

judgment. Indeed, “[i]n deciding whether to grant a preliminary injunction, the court must also

consider any irreparable harm that the defendant might suffer from the injunction—harm that

would not be either cured by the defendant's ultimately prevailing in the trial on the merits or fully

compensated by the injunction bond. . . .” Scotts Co. v. United Indus. Corp., 315 F.3d 264, 285

(4th Cir. 2002). (internal quotation marks omitted).




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         Moreover, this lawsuit improperly injects States into the federal employer-employee

relationship, for the reasons explained above. Implementing the order to date also has been an

extraordinarily burdensome for the affected agencies.

II.     Any Remedy Should Not Include Reinstatement and Should Be Limited to the Plaintiff
        States that Demonstrate Standing

      A. Plaintiffs Fail to Show that the Court has Equitable Power of Reinstatement.

         Plaintiffs cannot advance their argument by gesturing vaguely to courts’ “equitable

powers.” Br. 10, 18-19. Absent express statutory authority, a federal court may grant only those

equitable remedies that were “traditionally accorded by courts of equity.” Grupo Mexicano de

Desarollo S.A. v. Alliance Bond Fund, Inc., 527 U.S. 308, 319 (1999). Reinstatement is not a

remedy that was traditionally available at equity. See Sampson v. Muray, 415 U.S. 61, 84 (1974).

And while Congress departed from that equitable tradition in the CSRA, 5 U.S.C. §§ 1204(a)(2),

7701(g), 7703(b)(1), as discussed above, Plaintiffs cannot proceed under that statute. While

Plaintiffs invoke the remedies available under the APA, that only authorizes a court to grant

injunctive relief subject to traditional equitable limitations. 5 U.S.C. § 702(1).

         Reinstatement exceeds a court’s traditional equitable authority, and so requires specific

statutory authorization. No statute—and certainly not the APA that forms the basis of this suit—

authorizes reinstatement to redress downstream harm to the potential beneficiaries of the services

generated by a particular employer-employee relationship.           Even where reinstatement of a

government employee is authorized, this Court has recognized that it requires a heightened

showing in light of the Executive’s traditional “latitude in the dispatch of its own internal affairs,”

Sampson, 415 U.S. at 83 (citation and internal quotation marks omitted), a showing that Plaintiffs

have not come close to satisfying. Thus, the mass remedy sought here far exceeds the scope of the




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Court’s equitable powers, especially in light of the alleged legal violation of the 60-day notice

requirement.

   B. Any Preliminary Injunction or APA Stay Should Operate Only in the Plaintiff States
      That Demonstrate Standing and Irreparable Harm—Not Nationwide.

   Any preliminary injunction should operate only in the Plaintiff States that demonstrate

standing and irreparable harm, not nationwide.       As this Court observed, Judge Rushing’s

concurrence emphasized the “growing concerns over district courts issuing nationwide injunctions

to order redress for those who not sought it.” (Doc. 20, No. 25-1248, at 3-4 (4th Cir. Mar. 21,

2025)). Here, specifically, the alleged legal violation turns on a notice requirement that is both

agency- and geography-specific. Plaintiff States alleged they were injured when they didn’t

receive the allegedly required notice when defendant agencies terminated probationary employees

within their territory. But as Judge Rushing’s concurrence emphasized, as for “the 31 States that

opted not to join this lawsuit,” there was no allegation or evidence “showing that there had been

terminations of probationary employe so as to potentially trigger the notice requirement.” See id.

at 5. Her concurrence therefore soundly concluded that the injunction should—at most—“redress

noticed-based injuries only for those States that actually claimed to be injured by the lack of

notice.” See id. And as explained below, the view expressed in Judge Rushing’s concurrence

comports with Supreme Court and Fourth Circuit authority.

       The Supreme Court has directed that “judicial power exists only to redress or other protect

against injury to the complaining party.” See Warth v. Seldin, 422 U.S. 490 (1975) (emphasis

added). And the Fourth Circuit, in a published but subsequently vacated opinion, expressed in an

extensive analysis (spanning several pages) various criticisms of nationwide injunctions, and

concluded those injunctions are “are plainly inconsistent with this conception of the judicial role

and the proper scope of the federal courts' remedial power.” CASA de Maryland, Inc. v. Trump,



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971 F.3d 220, 256-263 (4th Cir. 2020), vacated by, reh’g en banc granted, 981 F.3d 311 (4th Cir.

2020); appeal dismissed sub nom., Casa de Md. v. Biden, 2021 U.S. App. LEXIS 7177 (4th Cir.

Mar. 11, 2021).

        In those cases where the Fourth Circuit has affirmed a district court’s nationwide

injunction, the government relied upon a “categorical policy, which effectively operated as a

ban”—and that is not the case here. See In Roe, 947 F.3d at 232; see also HIAS v. Trump, 985 F.3d

309, 326 (4th Cir. 2020) (“A district court may issue a nationwide injunction so long as the court

molds its decree to meet the exigencies of the particular case.”) (quotation omitted); Cf. Casa, Inc.

v Trump, 2025 U.S. App. LEXIS 4856 (4th Cir. Feb. 28, 2025 (Niemeyer, J., dissenting) (“As a

matter of order and equity, it is simply presumptuous and jurisdictionally messy for one district

court to issue an injunction that covers the jurisdiction of other district courts and courts of appeals,

which are considering the same issues.”) (noting that “the Supreme Court has demonstrated grave

concern generally over district courts' issuing national injunctions,” citing Labrador v. Poe ex rel.

Poe, 144 S. Ct. 921, 218 L. Ed. 2d 400 (2024) (mem.)).5

        Finally, respectfully, Plaintiff States should be estopped from asserting new arguments in

favor of a nationwide injunction. Plaintiffs’ motion failed to articulate satisfactory grounds for the

sought-nationwide injunction, and those arguments are forfeited now. The Court should not allow

Plaintiffs to rehabilitate their preliminary injunction motion with a supplemental brief based on a

Fourth Circuit concurring opinion.




5
  Plaintiffs cite District of Columbia v. United States Dep’t of Agric., 444 F. Supp. 3d 1, 48 (D.D.C.
2020), which states, “the APA’s § 705 must be read to authorize relief from agency action for any
person otherwise subject to the action, not just as to plaintiffs.” See Br. p. 19. This just follows
from the court’s view (not at issue here) that “the APA’s instruction that unlawful agency actions
be ‘set aside’ is ordinarily read as an instruction to vacate, wherever applicable, unlawful agency
rules.” Id.

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        Nor does Plaintiffs’ request for a stay under 5 U.S.C § 705 authorize the Court to provide

nationwide relief. Section 705 (like other APA provisions) “was primarily intended to reflect

existing law,” not “to fashion new rules of intervention for District Courts.” Sampson, 415 U.S. at

68 n.15. The text of § 705 says that a court “may issue all necessary and appropriate process to

postpone the effective date of an agency action or to preserve status or rights.” 5 U.S.C. § 705. In

other words, (at a minimum) a court has discretion—the use of “may” does not require entry of

any relief at all, and the “or” offers a court a choice between action to postpone the effective date

or action to preserve status or rights. The text of § 705 thus puts traditional preliminary injunctions

on at least equal footing with stays, making clear that stays, no less than preliminary injunctions,

are a matter for the equitable discretion of the court. There is no basis to interpret § 705 to jettison

the normal equitable rules. Section 705 explicitly incorporates traditional equitable principles by

authorizing temporary relief only “to the extent necessary to prevent irreparable injury” and “to

preserve status or rights pending conclusion of the review proceedings.” 5 U.S.C. § 705. That is

paradigmatic equitable relief. The House Report that accompanied the APA thus explained that

the relief authorized by § 705 “is equitable” and “would normally, if not always, be limited to the

parties complaining.” H.R. Rep. No. 791980, at 43 (1946). Grave Article III problems would arise

if § 705 were interpreted to require or routinely permit district courts to extend relief to nonparties.

The Supreme Court has emphasized that “plaintiffs must demonstrate standing . . . for each form

of relief that they seek.” Murthy, 603 U.S. at 61 (quotation marks omitted).

III.   Any Injunctive Relief Should Require the Provision of a Reasonable Bond by the
       Plaintiff States.

        Finally, to the extent the Court issues any injunctive relief, Defendants respectfully request

the requirement of a reasonable bond, per Fed. R. Civ. P. 65(c) in light of the financial damages

and other costs that injunction will cost Defendants. As the Fourth Circuit has directed, “In fixing



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the amount of an injunction bond, the district court should be guided by the purpose underlying

Rule 65(c), which is to provide a mechanism for reimbursing an enjoined party for harm it suffers

as a result of an improvidently issued injunction or restraining order.” Hoechst Diafoil Co. v. Nan

Ya Plastics Corp., 174 F.3d 411, 421 n.3 (4th Cir. 1999). The Fourth Circuit continued: “The

amount of the bond, then, ordinarily depends on the gravity of the potential harm to the enjoined

party.” Id. Specifically:

      The judge usually will fix security in an amount that covers the potential incidental
      and consequential costs as well as either the losses the unjustly enjoined or restrained
      party will suffer during the period he is prohibited from engaging in certain activities
      or the complainant's unjust enrichment caused by his adversary being improperly
      enjoined or restrained.

Id. (quoting 11A Charles Alan Wright et al., Federal Practice & Procedure § 2954, at 292 (2d ed.

1995)). The Court previously ordered a $100 bond which bears no relation to the costs imposed

on Defendants as a result of the TRO. As explained above, the proposed Preliminary Injunction

seeks to require Defendants to continue employing—and paying—thousands of individuals whose

services Defendants determined they no longer require. Apart from the bond posted under Rule

65(c), the government will not be able to recover that money if it later prevails at judgment.

Defendants strongly believe that they will prevail on the merits in this case because, among other

reasons explained above, RIF notice requirements were not triggered.

                                         CONCLUSION

       For these reasons, this Court should deny Plaintiffs’ Motion for a Section 705 Stay and

Preliminary Injunction.




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                                CERTIFICATE OF SERVICE

       I certify that on this 24st day of March 2025, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF System, which will send notice of such filing to all counsel.


                                                            /s/ Steven M. Chasin
                                                            Steven M. Chasin
                                                            Trial Attorney




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